























In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-04-00107-CV
______________________________


Â&nbsp;
Â&nbsp;
IN THE INTEREST OF
A.A.T., L.L.T., A.C.,
AND W.L.C., JR., CHILDREN
Â&nbsp;
Â&nbsp;


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On Appeal from the County Court at Law
Bowie County, Texas
Trial Court No. 03C1134-CCL


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Opinion by Justice Ross


O P I N I O N

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Weldon and Lisa Clements appeal from the termination of their parental rights. 
They contend that the evidence is factually insufficient to support a finding that one of the
grounds for termination existed and that the evidence was factually insufficient to support
a finding that it was in the best interests of the children to terminate the Clementses'
parental rights.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Lisa is the mother of all four children, A.A.T., a female born December 10, 1993,
L.L.T., a female born September 18, 1995, A.C., a female born February 17, 1997, and
W.L.C., Jr., a male born February 16, 1999.  Weldon is the father of the two youngest
children.


  The order terminated Lisa's rights to all four children and Weldon's rights to the
two youngest children.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The Texas Family Code provides, in relevant part, as follows:  
The court may order termination of the parent-child relationship if the
court finds by clear and convincing evidence:

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(1)Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;that the parent has:

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;. . . .
Â&nbsp;
(D)knowingly placed or knowingly allowed the child to
remain in conditions or surroundings which endanger the physical or
emotional well-being of the child;
Â&nbsp;
(E) engaged in conduct or knowingly placed the child with
persons who engaged in conduct which endangers the physical or
emotional well-being of the child;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;. . . .
Â&nbsp;
(M) had his or her parent-child relationship terminated with
respect to another child based on a finding that the parent's conduct
was in violation of Paragraph (D) or (E) or substantially equivalent
provisions of the law of another state; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;and
Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(2)Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;that termination is in the best interest of the child.

Tex. Fam. Code Ann. Â§ 161.001 (Vernon 2002).

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The grounds stated in the trial court's order terminating Lisa's parental rights track
these sections of the Family Code.  The order terminating Weldon's parental rights mirrors
the order terminating Lisa's rights, except it does not include subparagraph (M).
Standards of Review
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;When reviewing a factual sufficiency challenge to a parental rights termination, we
consider the evidence the fact-finder could reasonably have found to be clear and
convincing.  In re C.H., 89 S.W.3d 17, 25â26 (Tex. 2002).  "Clear and convincing evidence"
means the measure or degree of proof that will produce in the mind of the trier of fact a
firm belief or conviction as to the truth of the allegations sought to be established.  Id.; InÂ&nbsp;re
J.F.C., 96 S.W.3d 256, 266 (Tex. 2002); In re N.H., 122 S.W.3d 391, 396 (Tex.
App.âTexarkana 2003, pet. denied).  In so doing, we consider whether disputed evidence
is such that a reasonable fact-finder could not have resolved that dispute in favor of its
finding.  J.F.C., 96 S.W.3d at 266; N.H., 122 S.W.3d at 396.  If, in light of the entire record,
the disputed evidence that a reasonable fact-finder could not have credited in favor of the
finding is so significant that a fact-finder could not reasonably have formed a firm belief or
conviction, then the evidence is factually insufficient.  J.F.C., 96 S.W.3d at 266; N.H., 122
S.W.3d at 396.  
The Evidence in this Case
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The record shows that, at the time Lisa and Weldon began a relationship, Weldon
was married to Jo, and Lisa had already given birth to four children by other men.  In early
1997, Lisa moved into the home with Weldon and Jo.  Jo testified that she did not know
of her husband's affair with Lisa and that she let Lisa move in because they thought Child
Protective Services (CPS) was about to take Lisa's children away from her.


  Lisa was
pregnant at the time, and gave birth to A.C. while living with Weldon and Jo.  After the birth
of A.C., Weldon admitted he had fathered the child.  Lisa and the two older children then
moved out of the house into a mobile home.  Weldon and Jo kept A.C. for three years. 
The affair continued.  Ultimately, Weldon and Jo divorced, Weldon married Lisa, and
W.L.C., Jr., was born.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;CPS had ongoing investigations of Lisa and her child-rearing practices during this
time.  Weldon was also a subject of CPS investigations after he and Lisa began their
relationship.  There is evidence Lisa left her children with her parents in housing described
by all parties as filthy and a dangerous place for children.  The evidence shows she
sometimes left the two older children with her parents while she went with truckers for three
or four days at a time.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;There is evidence that Lisa "slapped [A.A.T.] so hard, she hit the wall," that she was
"always beating" on A.A.T. with a belt or her hand, that she kicked A.A.T.'s legs from
beneath her and made her fall, and that she and Weldon laughed about it.  There is also
evidence that Lisa threw a chair at A.C.  There was proof that Lisa had hit the children on
the face or head with an open hand.  The evidence also shows that Lisa once locked all
the children in the car when the temperature was almost 100 degrees Fahrenheit.  There
is also evidence that Lisa engaged in sexual play in front of A.C.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The children reported that their parents would team them up and make them fight
in front of them.  There was evidence of domestic discord between Lisa and Weldon, and
evidence that Weldon had once pulled a gun after Lisa cut him with a knife. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The record also shows that the State had referred Lisa to parenting classes and
provided her with intensive family services to assist her with her parenting, and that she
generally did not follow through with any of these activities.  There was also evidence of
a number of complaints filed against Lisa about her family from 1994 until 2000.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Donald Winstead, Ph.D., a psychologist, evaluated both Lisa and Weldon as having
borderline intelligence.  He also expressed worry about Lisa's pattern of getting
romantically involved with pedophiles.  There was contradictory evidence about whether
the girls had been abused by Weldon.  There was evidence A.A.T. had accused Weldon
of sexual abuse, as had L.L.T. and A.C.  CPS labeled these claims as "unable to
determine."  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;A department investigator, Samantha Henry, testified A.C. had complained that Lisa
treated her differently than her other children.  A.C. also reported to her that Lisa had
pushed a kitchen table against her stomach and pinned her against the wall, and that
Weldon hit Lisa with a mop to make her stop.  A.C. also told Henry that she had told her
school counselor about Weldon touching her private parts and that she got into big trouble. 
School personnel told Henry that A.C. cursed, masturbated, and exposed herself to other
students. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;There was also evidence that W.L.C., Jr., acted out sexual behavior with his sisters
after being placed in foster care.  The foster parents testified they had seen major
behavioral improvements in the children's behavior since being placed in their care, and
that the girls said they were afraid to go home.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Another CPS specialist, Linda Holley, testified about the extended efforts by the
State to provide assistance for Lisa and Weldon (as well as to Lisa's previous lovers) and
testified that, based on her experience and observation of the children, she had no doubt
that A.A.T. and L.L.T. had been sexually abused and that all of them had been emotionally
abused.  It was also her opinion that there had been physical abuse in the household.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The various witnesses for the State all concluded that the children's best interests
would be served by terminating Lisa's and Weldon's parental rights.  Holley testified that
these were the most traumatized children with whom she had worked. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The evidence as set out above provides clear and convincing proof that both
parents engaged in conduct which endangered the physical or emotional well-being of the
children.  There is also clear and convincing evidence that both parents allowed the
children to remain in conditions that endangered their physical or emotional well-being and
that both intentionally left the children with persons (Lisa's parents) who engaged in
conduct which endangered the physical or emotional well-being of the children.    
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;There is some evidence that tends to throw doubt on portions of the State's
evidence.  We conclude, however, that the disputed evidence is not so significant that a
reasonable fact-finder could not have reasonably resolved the dispute in the evidence in
favor of the findings that resulted in termination.  The evidence is clear and convincing that
termination of the parental rights of both parents was in the best interests of the children.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;We affirm the judgment.


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Donald R. Ross
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Justice


Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;March 22, 2005
Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;April 26, 2005



10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") h1;
	mso-even-footer:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") ef1;
	mso-footer:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") f1;
	mso-first-header:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") fh1;
	mso-first-footer:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") ff1;
	mso-paper-source:0;}
div.WordSection1
	{page:WordSection1;}
@page WordSection2
	{size:8.5in 11.0in;
	margin:2.0in 1.0in 1.0in 1.0in;
	mso-header-margin:2.0in;
	mso-footer-margin:1.0in;
	mso-even-header:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") eh1;
	mso-header:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") h1;
	mso-even-footer:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") ef1;
	mso-footer:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") f2;
	mso-first-header:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") fh1;
	mso-first-footer:url("6-10-067-CV%20In%20re%20K.K.M.%20FINAL%20mtd_files/header.htm") ff1;
	mso-paper-source:0;}
div.WordSection2
	{page:WordSection2;}
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                             In
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                       &nbsp; Court
of Appeals

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Appellate District of Texas at Texarkana

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K.K.M., A CHILD

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Judicial District Court

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Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Memorandum Opinion by Justice Moseley








Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; MEMORANDUMÂ&nbsp;
OPINION

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; David
McAdoo, appellant, filed his amended notice of appeal July 16, 2010.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; McAdoo
has not filed a docketing statement with this Court, see Tex. R. App. P.
32, nor has he paid a filing fee or made any claim of indigency.Â&nbsp; See
Tex. R. App. P. app. A (B)(1);
20.1.Â&nbsp; There is no information to
indicate McAdoo has made efforts to have either the clerkÂs record or reporterÂs
record filed with this Court.Â&nbsp; On August
23, 2010, we contacted McAdoo by letter, giving him an opportunity to cure the
various defects, and warning him that if we did not receive an adequate
response within ten days, this appeal would be subject to dismissal for want of
prosecution.Â&nbsp; See Tex. R. App. P. 42.3(b),
(c).

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; We
have received no communication from McAdoo.Â&nbsp;
Pursuant to Tex. R. App. P.
42.3(b), we dismiss this appeal for want of prosecution.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Bailey
C. Moseley

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Justice

Â&nbsp;

Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; September 20, 2010

Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; September 21, 2010





